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       Information to identify the case:                                                               EIN     XX-XXXXXXX
       Debtor          iPic-Gold Class Entertainment, LLC
                       Name
                                                                                                       Date case filed for chapter 11           08/05/2019
          United States Bankruptcy Court District of Delaware
          Case number: 19-11739 (LSS) (Jointly Administered)



       Official Form 309F (For Corporations or Partnerships)

       Notice of Chapter 11 Bankruptcy Case                                                                                                                       12/17


       For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief
       has been entered.
       This notice has important information about the case for creditors, debtors, and trustees, including information
       about the meeting of creditors and deadlines. Read both pages carefully.
       The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
       collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess
       property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors
       who violate the stay can be required to pay actual and punitive damages and attorney's fees.
       Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may
       be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
       To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed
       below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

       The staff of the bankruptcy clerk's office cannot give legal advice.

       Do not file this notice with any proof of claim or other filing in the case.

       Valid Picture ID is required for access to the J. Caleb Boggs Federal Building. Additionally, Debtor(s) must also
       present photo ID plus original verification of his/her social security number to the Bankruptcy Trustee. If you do
       not have a photo ID and/or original verification of your social security number, please contact the Office of the
       United States Trustee's (302−573−6491).


          1. Debtors’ full name: See chart below


          2. All other names used in the last 8 years: [See chart below if applicable].


          Jointly Administered Cases


                            DEBTOR                                           ADDRESS                               CASE NO.                      EIN #
             iPic Entertainment Inc.                               433 Plaza Real, Suite 335                    19-11737 (LSS)            XX-XXXXXXX
                                                                   Boca Raton, FL 33432
             [d/b/a Big Daddy’s Brew and Que; City
             Perch; iPic Entertainment; iPic
             Theatres; The Tuck Room; The Tuck
             Room Tavern; Tanzy]
             iPic Gold Class Holdings LLC                          433 Plaza Real, Suite 335                    19-11738 (LSS)            XX-XXXXXXX
                                                                   Boca Raton, FL 33432
             [d/b/a Big Daddy’s Brew and Que; City
             Perch; iPic Entertainment; iPic
             Theatres; The Tuck Room; The Tuck
             Room Tavern; Tanzy]
             iPic-Gold Class Entertainment, LLC                    433 Plaza Real, Suite 335                    19-11739 (LSS)            XX-XXXXXXX
                                                                   Boca Raton, FL 33432
             [d/b/a Big Daddy’s Brew and Que; City
             Perch; iPic Entertainment; iPic
             Theatres; The Tuck Room; The Tuck
             Room Tavern; Tanzy]




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           iPic Media LLC                                   433 Plaza Real, Suite 335             19-11740 (LSS)       XX-XXXXXXX
                                                            Boca Raton, FL 33432
           [d/b/a Big Daddy’s Brew and Que; City
           Perch; iPic Entertainment; iPic
           Theatres; The Tuck Room; The Tuck
           Room Tavern; Tanzy]
           iPic Texas, LLC                                  433 Plaza Real, Suite 335             19-11741 (LSS)       N/A
                                                            Boca Raton, FL 33432
           [d/b/a Big Daddy’s Brew and Que; City
           Perch; iPic Entertainment; iPic
           Theatres; The Tuck Room; The Tuck
           Room Tavern; Tanzy]
           Delray Beach Holdings, LLC                       433 Plaza Real, Suite 335             19-11742 (LSS)       XX-XXXXXXX
                                                            Boca Raton, FL 33432
           [d/b/a Big Daddy’s Brew and Que; City
           Perch; iPic Entertainment; iPic
           Theatres; The Tuck Room; The Tuck
           Room Tavern; Tanzy]



          3. Address: See chart above

          4. Debtors’ attorneys and claims agent
             PACHULSKI STANG ZIEHL & JONES LLP
             Jeffrey N. Pomerantz
             Debra I. Grassgreen
             Peter J. Keane
             919 North Market Street, 17th Floor
             P.O. Box 8705
             Wilmington, DE 19899 (Courier 19801)
             Telephone: (302) 652-4100
             Facsimile: (302) 652-4400
             Email: jpomerantz@pszjlaw.com
                     dgrassgreen@pszjlaw.com
                     pkeane@pszjlaw.com

          Debtors’ Claims and Noticing Agent                             Contact phone:     (855) 221-1800
          If you have any questions about this notice, please            Email:             TeamiPic@stretto.com
          contact Stretto.                                               Website:           https://cases.stretto.com/ipic


          5. Bankruptcy clerk's office

             Documents in this case may be filed    824 Market Street,       Hours open: Monday − Friday 8:00 AM − 4:00 PM
                                                    3rd Floor
             at this address.                       Wilmington, DE           Contact phone 302−252−2900
                                                    19801
             You may inspect all records filed in
             this case at this office or
             online at www.pacer.gov.
          6. Meeting of creditors                                                                         Location:
                                                    September 10, 2019 at 11:00 a.m. (ET)
             The debtor's representative must                                                                  Delaware State Bar Association
             attend the meeting to be questioned    The meeting may be continued or adjourned to a later date. 405 N. King Street, 2nd Floor,
             under oath.                            If so, the date will be on the court docket.               PAC Room
                                                                                                               Wilmington, DE 19801
             Creditors may attend, but are not
             required to do so.




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          7. Proof of            Deadline for filing proof of claim: Not yet set. If a deadline is set, notice will be sent at a later
          claim deadline         time.

                                 A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed either electronically
                                 or as a paper document. For more information on how to file a Proof of Claim, visit the court-appointed claims agent’s
                                 website at https://cases.stretto.com/ipic

                                 Your claim will be allowed in the amount scheduled unless:


                                           your claim is designated as disputed, contingent, or unliquidated;
                                           you file a proof of claim in a different amount; or
                                           you receive another notice.
                                 If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must file a
                                 proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may file a proof
                                 of claim even if your claim is scheduled.

                                 You may review the schedules at the bankruptcy clerk's office or online at http://cases.stretto.com/ipic.

                                 Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of claim
                                 submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                                 secured creditor who files a proof of claim may surrender important nonmonetary rights, including the right to a jury trial.

          8. Exception           If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial proceeding by
          to discharge           filing a complaint by the deadline stated below.
          deadline
             The bankruptcy      Deadline for filing the complaint: To be determined.
             clerk's office
             must receive a
             complaint and
             any required
             filing fee by the
             following
             deadline.



          9. Creditors           If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to extend the
          with a foreign         deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions
                                 about your rights in this case.
          address

          10. Filing a           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
                                 confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you may
          Chapter 11             have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and you may
          bankruptcy             object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor will remain
          case                   in possession of the property and may continue to operate its business.


                                 Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt. See
                                 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor except as
          11. Discharge          provided in the plan. If you want to have a particular debt owed to you excepted from the discharge and § 523(c)
          of debts               applies to your claim, you must start a judicial proceeding by filing a complaint and paying the filing fee in the
                                 bankruptcy clerk's office by the deadline.




               If you have questions about this notice, please call (855) 221-1800
                 (toll free from the US or Canada), email TeamiPic@stretto.com or
                                   visit https://cases.stretto.com/ipic.




           Official Form 309F (For Corporations or Partnerships)                      Notice of Chapter 11 Bankruptcy Case




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